









Dismissed and Memorandum Opinion filed March 4, 2004









Dismissed and Memorandum Opinion filed March 4, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01446-CV

____________

&nbsp;

FLOYD P.
TARVIN IV, Appellant

&nbsp;

V.

&nbsp;

NICH
RINCHUSIO, D/B/A NICK=S PLACE, ITALIAN BAR AND GRILL, Appellee

&nbsp;



&nbsp;

On Appeal from the
269th District Court

Harris County,
Texas

Trial Court Cause No.
03-00668

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed November 10,
2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On January 29, 2004, notification was transmitted to all
parties of the Court's intent to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed March 4, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





